Case 1:20-cv-00452-WJM-SKC Document 189 Filed 05/26/22 USDC Colorado Page 1 of 3




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-00452-WJM-SKC
   TIFFANY GRAYS,

                  Plaintiff,

   v.

   NAVIENT SOLUTIONS, LLC,
   EQUIFAX, INC.,
   EXPERIAN INFORMATION SOLUTIONS, INC.,
   TRANS UNION, LLC, and
   INNOVIS DATA SOLUTIONS, INC.,
                  Defendants.


               OPPOSED MOTION FOR LEAVE TO RESTRICT EXHIBITS TO
                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


          Pursuant to D.C.Colo.LCivR. 7.2(c), Defendant Navient Solutions, LLC (“NSL”), by and

   through undersigned counsel, moves for Level 1 Restriction of Exhibits 4, 5, 7, 8, and 9 (ECF Nos.

   183-4, 183-5, 184, 184-1, and 183-7) to NSL’s Motion for Summary Judgment (ECF No. 183).

                       CONFERRAL PURSUANT TO LOCAL RULE 7.1(A)

          Counsel for NSL conferred with Plaintiff about this motion via email on May 19, 25 and

   26 2022. Plaintiff stated that she objects to the relief requested herein by responding “opposed.”

   However, as is clear from the emails attached hereto as Exhibit A, it appears that she doesn’t

   oppose the relief requested, but rather, that she believes additional exhibits should be restricted.

                                                MOTION

          1.      NSL filed a Motion for Summary Judgment on May 16, 2022 (ECF No. 183).

          2.      In support of the Motion, NSL attached certain correspondence history related to

   its servicing of Plaintiff’s FFELP consolidated loan and her FFELP and FDLP Stafford loans.

   (ECF Nos. 184, 184-1.) These records are memorialized on a proprietary system belonging to



                                                     1
Case 1:20-cv-00452-WJM-SKC Document 189 Filed 05/26/22 USDC Colorado Page 2 of 3




   NSL. They were thus marked “Confidential” when produced in discovery, pursuant to the terms

   of the Stipulated Protective Order. (See ECF No. 53.) These documents were filed on May 16,

   2020 as Restricted Level 1.

           3.      Exhibits 4, 5, and 9 (ECF Nos. 183-4, 183-5, and 183-7) were inadvertently filed

   with partially unredacted protected personal information belonging to Plaintiff. NSL contacted

   the Court after discovering the partial redactions and the exhibits were restricted by the Court on

   May 25, 2022.

           4.      The Court should grant Level 1 Restriction to Exhibits 4, 5, 7, 8, and 9 (ECF Nos.

   183-4, 183-5, 184, 184-1, and 183-7) to NSL’s Motion for Summary Judgment, as they contain

   confidentia, proprietary information belonging to NSL, and protected personal information

   belonging to Plaintiff.

                                            CONCLUSION

           NSL requests that the Court grant Level 1 Restriction to Exhibits 4, 5, 7, 8, and 9 (ECF

   Nos. 183-4, 183-5, 184, 184-1, and 183-7) to NSL’s Motion for Summary Judgment (ECF No.

   183).

           Dated: May 26, 2022.

                                                        SPENCER FANE LLP

                                                        By:    s/Dennis N. Lueck, Jr.
                                                              Dennis N. Lueck, Jr.
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                                                              Attorneys for Defendant,
                                                              Navient Solutions, LLC




                                                   2
                                                                                           DN 6829044.1
Case 1:20-cv-00452-WJM-SKC Document 189 Filed 05/26/22 USDC Colorado Page 3 of 3




                                       CERTIFICATE OF SERVICE

           I hereby certify that on this 26th day of May, 2022, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

   parties of record in this matter.

    Tiffany Grays, pro se
    legalgrays@gmail.com



                                                            /s/ Maria Salinas
                                                          for Spencer Fane LLP




                                                     3
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